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Heim v. Daniel, --- F.4th ---- (2023)




          2023 WL 5597837
     Only the Westlaw citation is                    Holdings: The Court of Appeals,
          currently available.                       Lynch, Senior Circuit Judge, held that:
    United States Court of Appeals,
            Second Circuit.
                                                     [1]
                                                         as matter of first impression,
            John J. HEIM,                            Garcetti’s bar on First Amendment
          Plaintiff-Appellant,                       protection for official-duty speech does
                    v.                               not apply to public university
    Betty DANIEL, Adrian Masters,                    professor’s teaching and academic
        Defendants-Appellees.*                       writing;
*      The Clerk is respectfully directed to amend
       the caption to conform to the above.          [2]
                                                          adjunct professor’s writings
                                                     addressed matters of public concern;
                                                     but
         Docket No. 22-1135-cv
                   |                                 [3]
                                                        university’s interest in deciding what
           August Term, 2022                         it wished to prioritize in its hiring and
                   |                                 staffing decisions outweighed adjunct
         Argued: June 30, 2023                       professor’s interest in competing for
                   |                                 academic positions.
        Decided: August 30, 2023

                                                     Affirmed.
Synopsis
Background: Adjunct professor at
state university filed § 1983 action
alleging that rejection of his candidacy               West Headnotes (14)
for    tenure-track     macroeconomics
positions by relevant decisionmakers in
university’s economics department
                                                      [1]   Federal Courts Summary
because     of    his    methodological                     judgment
preference violated First Amendment.
                                                            Federal Courts Summary
The United States District Court for the
                                                            judgment
Northern District of New York, David
N. Hurd, J., 2022 WL 1472878, entered
                                                            Court of Appeals reviews
summary judgment in defendants’                             district court’s grant of
favor, and plaintiff appealed.
                                                            summary judgment de novo,
                                                            resolving all ambiguities and
                                                            drawing      all   reasonable

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        inferences in non-movant’s                          from exercising his or her
        favor, and will affirm only if                      constitutional  rights. U.S.
        there is no genuine issue of                        Const. Amend. 1.
        material fact and prevailing
        party was entitled to judgment
        as matter of law.



                                                      [4]   Constitutional
                                                            Law Retaliation
                                                            Constitutional
[2]     Constitutional                                      Law Discharge; constructive
        Law Retaliation                                     discharge

        To establish prima facie First                      For     purposes     of     First
        Amendment retaliation claim,                        Amendment            retaliation,
        plaintiff must show that: (1)                       “adverse action” may include,
        speech or conduct at issue was                      among         other      things,
        protected     from    particular                    discharging,          demoting,
        retaliatory act alleged; (2)                        reducing pay, or reprimanding
        retaliatory act qualifies as                        public employee and both
        adverse action taken against                        refusing to hire and refusing to
        plaintiff; and (3) there was                        promote applicant. U.S. Const.
        causal connection between                           Amend. 1.
        protected speech and adverse
        action. U.S. Const. Amend. 1.




                                                      [5]   Constitutional
                                                            Law Causation; substantial or
[3]     Constitutional                                      motivating factor
        Law Retaliation in general
                                                            To show causation, public
        In First Amendment retaliation                      employee    asserting     First
        case, government employer’s                         Amendment retaliation claim
        response to speech constitutes                      must show that protected
        “adverse action” if it would                        speech     was      substantial
        deter     similarly     situated                    motivating factor in adverse
        individual of ordinary firmness                     employment action. U.S. Const.

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        Amend. 1.                                           Amend. 1.




[6]     Civil Rights Employment                       [8]   Constitutional Law Public or
        practices                                           private concern; speaking as
        Constitutional                                      “citizen”
        Law Causation; substantial or
        motivating factor                                   To determine whether First
                                                            Amendment insulates public
        Because protected speech could                      employee       from      alleged
        not substantially cause adverse                     retaliatory   act    by     their
        action if public employer would                     employer, court must consider:
        have taken that action in any                       (1) whether employee spoke as
        event, employer can rebut                           citizen on matter of public
        prima facie showing of First                        concern, and (2) if so, whether
        Amendment retaliation by                            employer      had      adequate
        demonstrating                by                     justification    for    treating
        preponderance of evidence that                      employee differently based on
        it would have taken same                            his or her speech from any
        adverse employment action                           other member of general public.
        even in absence of protected                        U.S. Const. Amend. 1.
        conduct. U.S. Const. Amend. 1.




                                                      [9]   Constitutional Law Public or
[7]     Constitutional                                      private concern; speaking as
        Law Forfeiture or                                   “citizen”
        relinquishment of rights
                                                            To determine whether speech is
        Public employee does not                            pursuant to public employee’s
        relinquish all First Amendment                      official job duties, for First
        rights otherwise enjoyed by                         Amendment purposes, court
        citizens just by reason of his or                   must examine nature of
        her employment. U.S. Const.                         plaintiff’s job responsibilities,
                                                            nature     of    speech,     and

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        relationship between the two,                       whole record, looking to,
        along with other contextual                         among other things, whether
        factors such as whether                             speech had broader public
        employee’s speech was also                          purpose, and whether speech
        conveyed to public. U.S. Const.                     can be fairly considered as
        Amend. 1.                                           relating to any matter of
                                                            political, social, or other
                                                            concern to community. U.S.
                                                            Const. Amend. 1.



[10] Constitutional Law Public or
     private concern

        Garcetti’s    bar   on   First                [12] Constitutional Law Public or
        Amendment protection for                           private concern
        official-duty speech does not                      Education Exercise of rights;
        apply to public university                         retaliation
        professor’s    teaching   and                      Public
        academic writing. U.S. Const.                      Employment Protected
        Amend. 1.                                          activities

                                                            Academic writings by adjunct
                                                            professor at state university
                                                            about Keynesian economic
                                                            concepts addressed matters of
                                                            public concern, for First
[11] Constitutional                                         Amendment         free   speech
     Law Questions of law or fact                           purposes, even though they
     Constitutional Law Public or                           were intended for consumption
     private concern; speaking as                           by relatively narrow audience;
     “citizen”                                              entire     premise     powering
                                                            academic freedom was that
        Determination as to whether                         advancement of arts and
        public    employee’s     speech                     sciences was of long-term value
        concerns matter of public                           to society, and that benefits of
        concern, for First Amendment                        academic scholarship were no
        purposes, is question of law to                     less valuable even though
        be determined based on                              eventual benefits of particular
        content, form, and context of                       works might be unexpected,
        given statement, as revealed by                     indirect, or diffuse, and works
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        in question discussed sweeping                       deciding skills, expertise, and
        questions of economic policy,                        academic perspectives it wished
        analyzed        macroeconomic                        to prioritize in its hiring and
        conditions,     and    debated                       staffing decisions outweighed
        government’s proper role in                          adjunct professor’s interest in
        shaping those conditions. U.S.                       competing        for      academic
        Const. Amend. 1.                                     positions unencumbered by
                                                             university        decisionmakers’
                                                             assessment of approach or
                                                             methodology underlying his
                                                             academic speech, and thus
                                                             university officials’ rejection of
                                                             professor’s      candidacy      for
[13] Constitutional Law Public or                            tenure-track macroeconomics
     private concern                                         position because of his
                                                             methodological preference did
        In determining whether public                        not      violate      his     First
        university’s interests outweigh                      Amendment right to speak on
        professor’s First Amendment                          matters of public concern;
        right to comment on matters of                       officials’ decision to prioritize
        public concern, court must take                      another     methodology        was
        care      to    protect     First                    product of learned and strategic
        Amendment principles that                            choice, made by experts in their
        underlie     both     professor’s                    good       faith      professional
        interest in free speech and                          judgment, free from any
        university’s          underlying                     influence from political entities
        mission. U.S. Const. Amend. 1.                       or officials outside discipline.
                                                             U.S. Const. Amend. 1.




[14] Constitutional Law Public or
     private concern
     Education Exercise of rights;                   Attorneys and Law Firms
     retaliation
     Public                                          Phillip G. Steck, Cooper Erving &
     Employment Protected                            Savage LLP, Albany, NY, for
     activities                                      Plaintiff-Appellant.

        State university’s interest in               Sarah      L.    Rosenbluth,      Assistant

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Solicitor General, Buffalo, NY (Letitia
James, Attorney General; Barbara D.                        Although we accept that factual
Underwood, Solicitor General; Andrea                       premise underlying Heim’s appeal, we
Oser, Deputy Solicitor General, on the                     disagree with the legal theory it
brief), for Defendants-Appellees.                          supports: that, under the First
                                                           Amendment, a public university’s
Darpana M. Sheth, Washington, DC,                          hiring decisions cannot be informed by
for Amicus Curiae Foundation for                           methodological preference. Rather,
Individual Rights and Expression.                          applying     the    employer/employee
                                                           interest-balancing framework first set
Before: Lynch, Bianco, and Pérez,                          forth in Pickering v. Bd. of Educ., 391
Circuit Judges.                                            U.S. 563, 88 S.Ct. 1731, 20 L.Ed.2d
                                                           811 (1968), we hold that a public
Opinion                                                    university’s interest in deciding for
                                                           itself what skills, expertise, and
                                                           academic perspectives it wishes to
Gerard E. Lynch, Circuit Judge:
                                                           prioritize in its hiring and staffing
                                                           decisions outweighs Heim’s asserted
*1 Plaintiff-Appellant John Heim, an                       interest in competing for academic
adjunct professor of economics,                            positions unencumbered by university
appeals from a judgment of the United                      decision-makers’ assessment of the
States District Court for the Northern                     approach or methodology underlying
District of New York (David N. Hurd,                       his academic speech. We therefore
J.) granting summary judgment to his                       AFFIRM the judgment of the district
colleagues Betty Daniel and Adrian                         court.
Masters (together, “Defendants”) who,
as the relevant decision-makers in the
Economics Department at the State
University of New York at Albany                           BACKGROUND
(“SUNY Albany”1), declined to
interview Heim for more desirable
positions he believes he was qualified
for. Heim’s challenge is premised on
the allegation that Defendants rejected                       I. Factual Background
his candidacy in substantial part                          The following facts, which are largely
because he is a proponent of traditional                   drawn from Heim’s own testimony, are
Keynesian economics, an approach that                      undisputed except where otherwise
Defendants consider to be outdated.                        indicated, and are those that a
1      The institution is also referred to in the record   reasonable factfinder could find,
       as “The University at Albany” and, simply,          construing all ambiguities in Heim’s
       “Albany.”
                                                           favor. See Cugini v. City of New York,

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941 F.3d 604, 608 (2d Cir. 2019).                            Rensselaer       Polytechnic   Institute
                                                             (“RPI”) where he eventually achieved
                                                             the rank of (non-tenured) “full clinical
                                                             professor.” App’x 126.3 Heim’s duties
                                                             at RPI “were limited to teaching and
A. The Parties                                               administration,” including teaching
                                                             “Master[’s] and Ph.D.-level Advanced
Heim, an adjunct professor2 at SUNY                          Macroeconomics I & II and Master’s
Albany, initially brought this lawsuit                       level Econometrics” and supervising
against the entire SUNY system,                              both undergraduate- and graduate-level
SUNY Albany, its president Havidan                           research. Id. at 528.
Rodriguez, and two members of the                            3    Because “[t]enure in that position was not
SUNY Albany Economics Department                                  available,” RPI never made any “decision on
(the “Department”): Professors Betty                              granting or denying [Heim] tenure.” App’x 528.
Daniel and Adrian Masters. Masters
has chaired the Department since 2015,
and was a member of its hiring                               *2 Around 2012, he accepted an
committee at all relevant times. In                          adjunct position at SUNY Albany with
addition to leading the Department                           a lighter teaching load that he felt
prior to Masters, Daniel also chaired its                    would allow him to “concentrate more
hiring committee at all relevant times.                      on research.” Id. That research, the
2      In his deposition, Heim explained that although       methodology it employs, and the
       his title was technically “visiting professor,” for   difference between that methodology
       “payroll purposes” he was “known as an adjunct
       professor or lecturer.” App’x 142, 151. All
                                                             and the approach favored by his
       parties refer to him as an “adjunct.”                 colleagues at SUNY Albany are at the
                                                             root of this dispute.




B. Heim’s Professional Path                                  C. Methodological Perspectives at
                                                             SUNY Albany
Heim was a relative latecomer to
academia. After receiving his Ph.D. in                       Heim describes himself as a traditional
Political Economy from SUNY Albany                           Keynesian economist. In Heim’s
in 1972, he worked in government as                          characterization, Keynesians “stud[y]
an econometrician (and in other similar                      the operation of the entire economy as
capacities) for many years, interrupted                      a    whole     (in    comparison     to
only by his time in the mid-1980s                            microeconomists who study the
obtaining a Master’s degree in Public                        behavior of firms or sectors of the
Administration from Harvard. He                              economy or particular markets),” with
began his teaching career in 1997,                           a particular focus on demand-driven
accepting a non-tenured position at                          government intervention. Appellant’s
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Br. 8. That perspective, he explains,                approaches     began      to    supplant
derives from prominent 20th-century                  Keynesianism. That reckoning was
economist John Maynard Keynes’s                      spurred by the so-called “Lucas
view that “[w]hen consumers spend                    Critique,”4    which     posited    that
money in the economy, businesses                     Keynesian models’ reliance on fixed
respond by producing goods and                       coefficients to relate consumers’
services” to satisfy that robust                     disposable income to consumer
aggregate demand, stimulating the                    spending did not account for the fact
macroeconomy; conversely, “when                      that consumers’ behaviors may vary
aggregate demand is lacking, the                     based on their expectations for future
economy is depressed.” Id. For                       government interventions – for
example, “[f]or Keynes, the Great                    example, by responding to a short-term
Depression was caused by insufficient                tax cut aimed at increasing consumer
aggregate demand, that is[,] consumers               purchasing power by instead saving
having insufficient purchasing power                 newfound disposable income that
to drive the economy forward.” Id.                   Keynesian models would expect them
Accordingly, Keynesian economics                     (and policymakers would prefer them)
generally      supports      countering              to spend. That critique demanded a
economic lulls with government                       new     way     to    predict    macro,
intervention targeted at increasing                  economy-wide, trends based on those
consumers’ purchasing power through                  kinds of micro, consumer-level,
policies like tax cuts, heightened                   variables. So was born the “micro
government spending, and increases in                foundations     of    macroeconomics”
the money supply. That view                          school which, in Heim’s words,
represented a significant departure                  attempts to “extrapolate the behavior of
from prevailing early 20th-century                   the macro economy from the micro
perspectives, which effectively trusted              economy.” Id.
to market forces to sort everything out               4     Named for its creator, University of Chicago
in the long run. Keynes, of course,                         economist and Nobel laureate Robert Lucas.

famously quipped that “[i]n the long
run, we are all dead,” App’x 531, and
the school of economics he founded                   One prominent technique employed
enjoyed a run of prominence spanning                 under that banner, and by many
several post-Great Depression decades.               post-Lucas Critique macroeconomists,
                                                     is central to this lawsuit: “dynamic
Rampant stagflation in the 1970s                     stochastic general equilibrium” (or
inspired     many    economists     to               “DSGE”)          modeling.        Heim
re-evaluate.     When      traditional               characterizes DSGE as “a method that
Keynesian methods were seen as                       uses sophisticated mathematics such as
unable to account for the oppressive                 logarithms to derive the behavior of the
mix of inflation, unemployment, and                  macro economy from the micro
stagnant growth of the era, new                      economy.” Id. at 532. DSGE’s
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proponents consider it a more flexible                   6    Heim     describes     his     own    work     as
and robust technique than its forebears.                      “demand-driven Keynesianism, as Keynes
                                                              himself would have recognized it,” employing a
They believe that by permitting                               “highly detailed statistically based look at how
macroeconomic         indicators     like                     the economy operates.” App’x 535.
economic output to be linked to
coefficients that are sensitive to
consumer expectations, researchers are
able to model economic trends more
dynamically and more realistically than
                                                         D. Heim’s Work at SUNY Albany
would be possible using traditional
Keynesian tools. To Heim, though,                        According to Heim, it did not take long
none of this is really macroeconomics                    for his colleagues’ “hostil[ity]” towards
at all because it does not “deal with the                his approach to affect the scope of his
behavior of the economy as a whole.”                     work within the Department. App’x
Id. at 535. In his view, “you cannot                     552. In his first semester at SUNY
simply derive the macro from the                         Albany, he taught a class on large-scale
micro.” Id.                                              macroeconomic        modeling.      When
                                                         Daniel took over as Chair, however,
*3 The merits of that debate5 are not for                “she denied [Heim] the opportunity to
us to assess; judges are neither                         continue teaching that class.” Id. at
qualified nor commissioned to resolve                    528. Thereafter, although Heim
academic debates among scholars in                       maintained a full courseload teaching
any particular discipline. What matters                  classes like “Principles of Economics”
is that the debate exists at all, and that               and “Economic Statistics,” he was
Heim – who practices traditional                         never again assigned to teach
Keynesian economics6 – is on one side                    macroeconomics.
of it, while his colleagues at SUNY
Albany – who do not – are on the                         Meanwhile, Heim continued to forge
other.                                                   ahead with his research, although as an
5      The parties, for example, dispute the extent to
       which Heim’s approach is or is not out-of-step
                                                         adjunct he was not required to do so.
       and antiquated, precisely how ubiquitous and/or   For example, between 2017 and 2021
       infallible the DSGE technique is or is not, and   he published four books studying
       whether DSGE has invited a reversion to
       pre-Keynesian perspectives or is simply a         “every fiscal stimulus program going
       technique used by modern economists of            back to 1960,” id. at 529, and as of
       varying perspectives. Compare Appellant’s Br.
       9 (“DSGE economists are said to be a modern       February 2022, he had published 23
       version of neoclassical economists, the           articles in economic journals. His
       economists who emphasized market clearing
       before the advent of Keynes.”), with Appellee’s
                                                         research was publicized and celebrated
       Br. 8 (“Contemporary Keynesian analysis ...       by the university, including at a 2018
       often embraces DSGE techniques – it does not,
       as plaintiff claims, stand apart from DSGE.”).
                                                         reception honoring several dozen
                                                         “Authors & Artists” from across the
                                                         College of Arts and Sciences, and a

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2018 “Celebration of Scholarship”                       this year work on a 30-40 equation
event featuring presentations from 45                   model of the macroeconomy, which
SUNY Albany scholars across a range                     could become known as the “SUNY
of disciplines. Id. at 573, 575.                        Albany Econometric Model” .... I
                                                        think my area of my research is
Heim remains employed as an adjunct                     likely to undergo a resurgence of
at SUNY Albany. That is not because                     interest in the near future[.]
he always wanted to continue in that
capacity, however. To the contrary, at                  Of course, the department here at
the heart of this lawsuit are three other               SUNY has already made a
positions in the Department that he was                 substantial investment in developing
(or would have been) interested in, but                 a micro foundations focus, and may
for which he was never interviewed.                     be more interested in adding depth to
                                                        its capacity in this area. Though I
                                                        have taught graduate-level micro
                                                        foundations courses, it is of course,
                                                        an area substantially different from
1. The 2013 Position                                    my own area of interest and
                                                        expertise. If this is the direction the
First, in December 2013, Heim learned                   department sees itself headed in,
of a tenure-track macroeconomics                        certainly someone far different than
opening that the Department was in the                  me would a better match for the
process of filling. That was not an                     department and its plans than I
everyday occurrence; the Department                     would be.
is small, employing fewer than 20                    Id. at 588-89. In response, Daniel
faculty, only three or four of whom                  confirmed that the Department was
specialize in macroeconomics. Heim                   indeed looking for someone with a
quickly reached out to Daniel by email               micro foundations focus, but that it
to express his interest:                             nonetheless supported Heim’s ongoing,
                                                     divergent research:
   I just found out last Friday at our
   holiday party that we were recruiting                Thanks for your interest in the macro
   for a macroeconomics/Money and                       position. You are correct that we are
   banking position. No one had                         heavily      invested    in     micro
   mentioned this to me before, and I                   foundations of macro as this is the
   would have been interested in                        research trend in the top macro and
   applying, had I known ....                           general field journals. Since we
                                                        expect our faculty to publish in these
   *4 That said, my research interests                  journals, we do intend to continue
   are principally in large scale                       with this direction.
   econometric modeling of the
   macroeconomy. ... I am finalizing                    I did consult with Adrian [Masters]

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   ... and we agree with you that your               at 199.
   research differs from the course of
   research we want to pursue. I expect
   that we will hire a junior person
   recently trained in these techniques.
   I do want to encourage you to                     3. The 2017 Position
   continue your research. It just does
   not match with the direction we are               In August 2017, while having lunch
   taking macro research in the                      with Daniel and Masters, Heim learned
   Department.                                       of     another    open      tenure-track
Id. at 588. The Department ultimately                macroeconomics position in the
hired Yue Li, a recent Ph.D. with a                  Department. In October, he applied.
micro foundations research focus who,                But apart from an initial confirmation
in Heim’s estimation, had limited                    email from the university that his
familiarity with traditional Keynesian               application had been received, several
modeling.                                            weeks passed without any response.
                                                     Finally, in December, Heim followed
                                                     up with Masters (now Chair of the
                                                     Department) who told Heim that he
                                                     was not being considered because his
2. The 2016 Position                                 recommendations had not been
                                                     received in time. The mix-up was
A few years later, in 2016, Heim                     apparently attributable to a technical
learned that the Department had hired                snafu at the third-party online system
for a full-time (non-tenure-track)                   responsible for compiling application
lecturer position in financial economics             materials, leaving a frustrated Heim to
– and that despite Heim’s background                 wonder why no one had ever reached
in that area, he had again never been                out to him about the missing
approached about the opportunity, and                documents even though it was widely
in fact did not even learn of it until the           known within the Department that he
job had already been filled by a fellow              was applying.
adjunct; the Department had sought
and obtained a waiver from the                       *5 But all of that was a “red herring”
university to make the offer to Lewis                anyway. Id. at 542. Eventually, after
Segal, a former Goldman Sachs                        being pressed for further explanation
employee with a Ph.D. in economics                   by Heim, Masters put the “real reason,”
from Northwestern, without going                     id., in an email:
through the normal competitive hiring
process. Although he concedes that                      The department respects you and
Segal was qualified for the role, Heim                  respects the fact that you continue to
maintains that he himself was “equally                  conduct your research as an adjunct
qualified, maybe a little bit more.” Id.                professor. The technical reason we

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   put down for not interviewing you is                    of Monetary Economics or the
   that we did not have letters and I told                 International      Economic
   you that at the party. At the party I                   Review.[)]
   also gave you the “Cliff Notes” on
   the general feeling of the committee                    3. Has sufficient synergies with
   towards your application. Until now                     our research agendas that we can
   I have not given you chapter and                        learn from them and them from us
   verse because I am still happy to                       with the possibility of constructive
   have you as a member of the                             collaboration. Your work is not
   department but you have now forced                      consistent with that expectation.
   my hand on this. The fact is the                        Indeed, we rejected a number of
   committee     did     discuss     your                  applications that met the first 2
   application and, as with many                           criteria above but they do New
   applicants with a track record,                         Keynesian macro that we do not
   concluded that regardless of what                       appreciate.
   any letters said we would not
   interview you for the position. Here                 I hope you are not too discouraged
   is why:                                              by this and continue to teach and do
                                                        your work within the department as
   We are looking for someone who:                      an adjunct professor but the fact is
                                                        that you will not be hired for this
      1. Can teach and train students to                job.
      conduct research in the modern                 Id. at 597-98. Heim asked Masters to
      (i.e.   post   Lucas     Critique)             reconsider, “noting that DSGE
      macroeconomics that by your own                economics had come under heavy
      admission everyone else but you                criticism within the profession”
      and Ray Fair do[es]. Nothing in                including     from    two     prominent
      your credentials supports that                 economists, and urging that the
      possibility.                                   Department would “benefit from
                                                     having a recognized alternative, or at
      2. Has a reasonable expectation of             least by having a healthy debate on
      making     tenure     within     the           these issues in economics.” Id. at 545.
      department within the 6 year                   Masters      responded    by     simply
      tenure track window. Here again                dismissing those prominent critics as
      the fact that you have a record                “old guys!” Id. The Department
      speaks for itself. Nothing a letter            ultimately hired Ben Griffy, a recent
      writer can do can change that. The             Ph.D. whose research, like Masters’s,
      journals in which you have                     focused in part on macroeconomics and
      published do not achieve the                   the labor market and who Heim
      standard that we expect for tenure.            believes also had limited familiarity
      (Typically 4 articles in journals at           with traditional Keynesian methods.
      the level of top field e.g. Journal

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                                                        abandoned any claim against President
                                                        Rodriguez, SUNY Albany, and the
                                                        broader SUNY system, opting to
                                                        pursue only the First Amendment
    II. Procedural Background                           retaliation claim against Daniel and
                                                        Masters. Heim does not challenge any
                                                        of that on appeal.
A. Early Proceedings

Heim filed this lawsuit in July 2018,
initially asserting three causes of
action: (1) a claim for damages                         B. Summary Judgment
pursuant to 42 U.S.C. § 1983 against
Daniel and Masters for “violat[ing]                     His appeal targets what happened next.
plaintiff’s right of freedom of speech                  After the parties exchanged discovery
while acting under color of” state law;                 on Heim’s sole remaining claim – First
(2) a claim pursuant to § 1983 for                      Amendment retaliation – Defendants
injunctive relief against SUNY Albany                   moved for summary judgment in
President Rodriguez in the form of a                    January 2022.
court order to “prevent ongoing
discrimination     against   Keynesian                  In May 2022, the district court granted
economists” in violation of the First                   that motion and entered judgment for
Amendment; and (3) an age                               Defendants, holding in relevant part
discrimination claim under New York                     that the First Amendment did not
State’s Human Rights Law. App’x                         insulate Heim’s academic speech from
64-67.7                                                 adverse action by his public university
7      The Complaint also foreshadowed that “[u]pon     employer. Heim v. Daniel, No.
       issuance of a right to sue letter by [the U.S.
       Equal Employment Opportunity Commission],”       1:18-CV-836, 2022 WL 1472878, at
       Heim would seek leave to add an age              *14 (N.D.N.Y. May 10, 2022). It
       discrimination    claim     under   the   Age
       Discrimination in Employment Act. App’x 67.      arrived at that conclusion applying two
       That never happened, and the district court      separate First Amendment frameworks
       therefore “decline[d] to consider any claim
       under the ADEA.” Heim v. Daniel, No.
                                                        in the alternative and reaching the same
       1:18-CV-836, 2022 WL 1472878, at *1 n.2          result under both, reasoning (1) that
       (N.D.N.Y. May 10, 2022). Heim does not           academic research and writing are part
       challenge that decision on appeal.
                                                        of a public university professor’s
                                                        “official duties,” dooming Heim’s
*6 In September 2018, Defendants                        claims under Garcetti v. Ceballos, 547
moved to dismiss the Complaint, and in                  U.S. 410, 421, 126 S.Ct. 1951, 164
a ruling from the bench, the district                   L.Ed.2d 689 (2006); and (2) that even
court granted that motion in part,                      if Garcetti did not apply, Heim’s
dismissing the second and third causes                  “complex statistical modeling intended
of action. Along the way, Heim                          for consumption by a relatively narrow

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audience” did not address any matter of                    matter of public concern; and (4)
public concern, warranting dismissal                       failing to properly “balance the
under Pickering. Heim, 2022 WL                             employee’s First Amendment interests
1472878, at *14. The court also offered                    against the employer’s legitimate
yet another alternative basis for its                      interests.” Appellant’s Br. 49.
ruling: that because Heim did not meet
the     hiring    committee’s      stated                  Heim’s arguments are not altogether
qualifications for the position, “a                        without merit. Although we affirm the
reasonable jury would be compelled to                      district court’s ultimate disposition, we
conclude that defendants would not                         disagree with much of its reasoning. In
have promoted plaintiff ... regardless of                  particular, we disagree with its
plaintiff’s protected speech.” Id. at                      conclusions that Heim’s speech did not
*16.8                                                      substantially motivate Defendants’
8      The court also (1) concluded “that to the extent    rejection of his candidacy, and that
       Heim’s § 1983 claim is based on the general         Heim’s speech did not address matters
       First Amendment right of ‘academic freedom,’
       that claim must be dismissed, Heim, 2022 WL         of public concern. We also join several
       1472878, at *7; (2) rejected Heim’s argument        other Circuits in recognizing that First
       that this case should be analyzed under a
       “limited public forum” analysis, id. at *17         Amendment retaliation claims founded
       (adding that “ ‘forums’ are places, not people”);   upon speech that relates to academic
       and (3) remarked that although its conclusions
       as to the merits made it “unnecessary” to           scholarship or teaching are properly
       address qualified immunity, that defense            evaluated        under        Pickering’s
       “almost certainly applies” to Defendants’
       conduct in this case, id. at *16 n.14. Heim does
                                                           employer/employee interest-balancing
       not challenge any of that on appeal, and because    framework irrespective of whether,
       we resolve the sole claim he continues to press     under Garcetti, that speech was part of
       on other grounds, we have no occasion to
       express any view as to the merits of those          an     employee’s      official    duties.
       observations.                                       Ultimately, though, because Heim’s
                                                           First Amendment retaliation claim
                                                           cannot withstand that balancing test, it
                                                           nonetheless fails.

DISCUSSION

Heim challenges each of those points
on appeal. He contends that the district                     I. Legal Standards
court erred by, among other things, (1)
misconstruing the role that Heim’s
Keynesian viewpoints played in his                         A. Standard of Review
colleagues’ hiring decisions; (2)
applying Garcetti to academic speech                       *7 [1]We review a district court’s grant
at all; (3) concluding, under Pickering,                   of summary judgment de novo,
that Heim’s speech did not address any                     “resolving all ambiguities and drawing

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all reasonable inferences” in favor of               an adverse action.9 We therefore
the non-movant. Woolf v. Strada, 949                 address below only the other,
F.3d 89, 92-93 (2d Cir. 2020) (internal              contested, elements of a First
quotation marks omitted). We affirm                  Amendment retaliation claim.
“only if there is no genuine issue of                 9     Nor, for the most part, could Defendants dispute
material fact and the prevailing party                      that point. “In a First Amendment retaliation
                                                            case, a government employer’s response to
was entitled to judgment as a matter of                     speech constitutes an adverse action if it would
law.” Harris v. Miller, 818 F.3d 49, 57                     deter a similarly situated individual of ordinary
                                                            firmness from exercising his or her
(2d Cir. 2016) (internal quotation                          constitutional rights.” Connelly v. County of
marks omitted).                                             Rockland, 61 F.4th 322, 325 (2d Cir. 2023)
                                                            (internal quotation marks omitted). This is a less
                                                            “demanding” (that is, easier to satisfy) standard
                                                            than the “materially adverse change in the terms
                                                            and conditions of employment” test that we use
                                                            to determine an “adverse action” in other
                                                            employment contexts. E.g., Zelnik v. Fashion
B. First Amendment Retaliation                              Inst. of Tech., 464 F.3d 217, 225 (2d Cir. 2006)
                                                            (internal quotation marks omitted). For purposes
[2]                                                         of First Amendment retaliation, an adverse
  To establish a prima facie First                          action may include, among other things,
Amendment retaliation claim, a                              “discharging, ... demoting, reducing the pay, or
                                                            reprimanding an employee” and, as especially
plaintiff must show (1) “that the speech                    relevant here, both “refusing to hire” and
or conduct at issue was protected” from                     “refusing to promote” an applicant. Montero v.
                                                            City of Yonkers, 890 F.3d 386, 401 (2d Cir.
the particular retaliatory act alleged; (2)                 2018). Whether the 2017 decision not to
that the retaliatory act qualifies as an                    interview Heim is better understood as a refusal
“adverse action [taken] against the                         to promote – a characterization Defendants have
                                                            questioned, see App’x 872 (Daniel testifying:
plaintiff”; and (3) “that there was a                       “The position of adjunct does not have the
causal connection          between the                      concept of promotion. An adjunct is a dead-end
                                                            position. ... The assistant professor position is a
protected speech and the adverse                            completely different position.”) – or a refusal to
action.” Shara v. Maine-Endwell Cent.                       hire, it indisputably satisfies the “adverse
                                                            action” requirement.
Sch. Dist., 46 F.4th 77, 82 (2d Cir.                        The earlier acts of alleged retaliation present
2022) (internal quotation marks                             closer questions. The district court held that the
                                                            circumstances surrounding the 2013 and 2016
omitted). However, “[e]ven if the                           hires did not amount to “sufficiently adverse
plaintiff makes out a prima facie                           actions,” emphasizing that Heim did not
retaliation claim, a government                             actually apply for either position, and brushing
                                                            aside Heim’s arguments that “Daniel should not
defendant may still receive summary                         have discouraged him from applying” in 2013
judgment if it establishes its                              and that the Department had “followed an
                                                            improper internal or administrative process” in
entitlement to a relevant defense.”                         2016. Heim, 2022 WL 1472878, at *14.
Anemone v. Metro. Transp. Auth., 629                        Because we reject Heim’s claim for other
                                                            reasons, we need not decide whether those
F.3d 97, 114 (2d Cir. 2011).                                conclusions (which Heim does not challenge on
                                                            appeal) faithfully reflect our permissive and
[3]   [4]                                                   fact-specific “adversity” standards in this
      The district court held, and                          context. See Hoyt v. Andreucci, 433 F.3d 320,
Defendants do not dispute on appeal,                        328 (2d Cir. 2006) (noting that “lesser actions
that the Department’s refusal to hire                       may meet the adversity threshold” under what is
                                                            “a      heavily      fact-specific,     contextual
Heim for the 2017 position qualifies as                     determination”).

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                                                     he was not qualified for the position.”
                                                     Appellees’ Br. 25. The centerpiece of
                                                     their argument is that Heim lacked any
                                                     of the qualifications articulated in
                                                     Masters’s December 2017 email, which
                                                     they characterize as: (1) “an ability to
   II. Causation                                     teach     and    train    students    in
*8 [5] [6]We begin with the causation                contemporary research techniques”; (2)
requirement. To show causation, “a                   “a research agenda that would permit
plaintiff must show that the protected               collaboration with the Department’s
speech was a substantial motivating                  other faculty members”; and (3) “a
factor in the adverse employment                     publication record suggesting a strong
action.” Smith v. County of Suffolk, 776             likelihood of receiving tenure.” Id. at
F.3d 114, 118 (2d Cir. 2015) (internal               15-16.
quotation         marks         omitted).
Nevertheless, “[b]ecause protected                   But any attempt to construe those three
speech could not substantially cause an              requirements as content-neutral cannot
adverse action if the employer would                 survive even a superficial look at
have taken that action in any event, a               Masters’s actual email. Justifiably or
defendant can rebut a prima facie                    not, the requirements were soaked in
showing       of      retaliation     by             hostility to Keynesianism. At the
demonstrating by a preponderance of                  outset, when describing the requisite
the evidence that it would have taken                ability to teach and train students in
the same adverse employment action                   contemporary       research,     Masters
even in the absence of the protected                 explicitly defined “modern” as the sort
conduct.” Nagle v. Marron, 663 F.3d                  of     “post    Lucas      Critique[    ]
100, 111-12 (2d Cir. 2011) (internal                 macroeconomics that by your own
quotation marks omitted), citing Mt.                 admission everyone else but you and
Healthy City Sch. Dist. Bd. of Educ. v.              [one other economist] do[es].” App’x
Doyle, 429 U.S. 274, 285-86, 97 S.Ct.                597. In other words, to the Department,
568, 50 L.Ed.2d 471 (1977) (“The                     “modern”       was     antonymous      to
constitutional principle at stake is                 “Keynesian.”        Next,       Masters’s
sufficiently vindicated if such an                   explanation for why Heim’s work was
employee is placed in no worse a                     “not       consistent”      with      the
position than if he had not engaged in               collaboration-friendly           research
the conduct.”).                                      requirement was that the people in the
                                                     Department Heim would be expected
With those principles in mind,                       to collaborate with “do not appreciate”
Defendants insist that they “would                   Keynesian research perspectives. Id. at
have declined to interview plaintiff                 598. In fact, the Department had
even in the absence of any hostility to              already “rejected” other applicants who
his allegedly protected speech because               “met the [other] criteria” but “do New
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Keynesian macro.” Id. Finally, the                   conclude that Defendants “would have
third job requirement, setting forth the             taken the same action in the absence
Department’s publication expectations,               of” that speech. Id. at 115 (internal
is at least on its face more                         quotation marks omitted).
content-neutral. But even if we take it
at face value, the record suggests that
an applicant’s failure to meet the
Department’s preferred publication
history standards was not on its own
disqualifying. For example, at the time                 III. Extent of First Amendment
he was hired, Griffy had also never                     Protection
published (except perhaps as a research              *9 As a result, the outcome here hinges
assistant) in the top journals Masters               on whether the First Amendment
invoked in his email. Nor had Li. Heim               forecloses decision-makers within a
contends, moreover, that Defendants’                 public university from making hiring
“self-reinforcing” assessment of the                 decisions based on such content-driven
“top” journals in the field, id. at 547, is          assessments.
also colored by the fact that those
                                                     [7]
particular journals “do not publish                    “Regardless of the factual context,
non-DSGE Keynesian articles,” id. at                 we have required a plaintiff alleging
543-44.                                              retaliation to establish speech protected
                                                     by the First Amendment” in that
Whatever      their    merits,    those              relevant context. Weintraub v. Bd. of
assessments – which, as we discuss                   Educ., 593 F.3d 196, 200 (2d Cir.
below, were permissible for other                    2010) (internal quotation marks
reasons – firmly foreclose any attempt               omitted).      That     requirement     is
to escape liability on causation                     somewhat elusive in the public
grounds. It is not sufficient for                    employment setting, where employees
Defendants to demonstrate that they                  must generally “ ‘by necessity ... accept
considered Heim unqualified because,                 certain limitations’ ” on their First
when we “focus[ ] precisely” on                      Amendment freedoms because, as
Defendants’ motivations, we cannot                   government insiders, their speech “can
ignore the role their views on Heim’s                ‘contravene governmental policies or
speech played in shaping why they                    impair the proper performance of
considered him unqualified. Anemone,                 governmental functions.’ ” Id. at 201
629 F.3d at 114 (internal quotation                  (alteration in original), quoting
marks omitted). The undisputed facts                 Garcetti, 547 U.S. at 418-19, 126 S.Ct.
compel the conclusion that the content               1951; see Connick v. Myers, 461 U.S.
of Heim’s academic scholarship was                   138, 143, 103 S.Ct. 1684, 75 L.Ed.2d
central to Defendants’ assessment of                 708 (1983) (articulating “the common
his qualifications. It is therefore                  sense      realization”     underpinning
impossible for a reasonable jury to                  Pickering “that government offices
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could not function if every employment               1. Pickering and Garcetti
decision became a constitutional
matter”). Still, a public employee “does             For its part, the district court applied
not relinquish all First Amendment                   two different analyses in the
rights otherwise enjoyed by citizens                 alternative. The older framework it
just by reason of his or her                         applied was the line of authority
employment.” City of San Diego v.                    extending from Pickering, looking only
Roe, 543 U.S. 77, 80, 125 S.Ct. 521,                 to (1) whether the employee was
160 L.Ed.2d 410 (2004).                              speaking on a matter of “public
                                                     concern,” Connick, 461 U.S. at 146,
                                                     103 S.Ct. 1684 (under Pickering, if the
                                                     speech at issue “cannot be fairly
                                                     characterized as constituting speech on
A. First Amendment Frameworks                        a matter of public concern, it is
                                                     unnecessary for us to scrutinize the
[8]
  Over time, guided by those                         reasons for [the adverse action]”); and
principles, the Supreme Court has                    if so, (2) whether the employer’s
assembled a two-pronged test to                      reaction to that speech was nonetheless
determine       whether      the   First             justified, balancing the employee’s
Amendment        insulates    a   public             interest “in commenting upon matters
employee from an alleged retaliatory                 of public concern” against the public
act by their employer: (1) “whether the              employer’s interest in “promoting the
employee spoke as a citizen on a matter              efficiency of the public services it
of public concern” and (2) if so,                    performs through its employees.”
whether the employer had “an adequate                Pickering, 391 U.S. at 568, 88 S.Ct.
justification for treating the employee              1731; see Matthews v. City of New
differently based on his or her speech               York, 779 F.3d 167, 172-73 (2d Cir.
from any other member of the general                 2015).
public.” Montero v. City of Yonkers,
890 F.3d 386, 395 (2d Cir. 2018)                     The district court also applied the
(internal quotation marks and alteration             framework that the Supreme Court,
omitted), citing Garcetti, 547 U.S. at               nearly 40 years after Pickering,
418, 126 S.Ct. 1951 and Pickering, 391               articulated in Garcetti. The Garcetti
U.S. at 568, 88 S.Ct. 1731. We begin                 Court “narrowed” the scope of First
this portion of our analysis by                      Amendment protection for public
determining how those factors apply in               employees, inserting an additional rung
the “unique” context of academia.                    into that longstanding Pickering
Adams v. Trustees of the Univ. of                    framework. Weintraub, 593 F.3d at 201
N.C.-Wilmington, 640 F.3d 550, 564                   (internal quotation marks omitted).
(4th Cir. 2011).                                     “[W]hen public employees make
                                                     statements pursuant to their official
                                                     duties,” it explained, “the employees
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are not speaking as citizens for First               academic speech. “There is some
Amendment        purposes,     and    the            argument,”      he     allowed,      “that
Constitution does not insulate their                 expression related to academic
communications        from      employer             scholarship or classroom instruction
discipline.” Garcetti, 547 U.S. at 421,              implicates additional constitutional
126 S.Ct. 1951. Thus, in effect, under               interests that are not fully accounted
Garcetti, “employee speech” – i.e.,                  for by this Court’s customary
speech pursuant to a public employee’s               employee-speech jurisprudence.” Id. at
official duties – is weeded out before               425, 126 S.Ct. 1951 (majority opinion).
even      reaching      the     Pickering            That was the extent of the majority’s
framework. Lane v. Franks, 573 U.S.                  discussion of that question; the dispute
228, 237, 134 S.Ct. 2369, 189 L.Ed.2d                in Garcetti itself did not arise in a
312 (2014). Only where the speech at                 university setting, but rather from a
issue is so-called “citizen speech” does             deputy district attorney’s claim that he
a court then proceed, under Pickering,               had faced retaliation for voicing (in an
to determining whether the speech                    official memo that it was his job to
addressed a matter of public concern                 write) his critiques of a prosecution
and, if so, to balancing the relevant                brought by his own office. See id. at
employee and employer interests. Id.                 421, 126 S.Ct. 1951. Consequently, the
                                                     Garcetti majority “need not, and for
                                                     that reason d[id] not, decide whether
                                                     [its analysis] would apply in the same
                                                     manner to a case involving speech
2. Garcetti Does Not Apply Here                      related to scholarship or teaching.” Id.
                                                     at 425, 126 S.Ct. 1951. The Supreme
*10 This Court, however, has yet to                  Court has yet to revisit that question.
decide whether Garcetti even applies in
the “special” context of academia. E.                We, in turn, have recognized that “it is
Hartford Ed. Ass’n v. Bd. of Ed., 562                an open question in this Circuit
F.2d 838, 842-43 (2d Cir. 1977). The                 whether Garcetti applies to classroom
Garcetti Court deliberately left that                instruction,” Lee-Walker v. New York
question unanswered. Writing for the                 City Dep’t of Educ., 712 F. App’x 43,
majority – in response to a passage in               45 (2d Cir. 2017) (summary order)
Justice Souter’s dissent expressing his              (internal quotation marks and alteration
“hope” that “today’s majority does not               omitted), and district courts in our
mean to imperil First Amendment                      Circuit have varied in their application
protection of academic freedom in                    of Garcetti to various other kinds of
public colleges and universities,”                   “academic      speech,”    Schulz      v.
Garcetti, 547 U.S. at 438, 126 S.Ct.                 Commack Union Free Sch. Dist., No.
1951 (Souter, J., dissenting) – Justice              21-CV-5646-RPK, ––– F.Supp.3d
Kennedy expressly acknowledged that                  ––––, ––––, 2023 WL 2667050, at *7
the Court’s holding might not apply to               (E.D.N.Y. Mar. 28, 2023) (collecting
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cases). We are not the only Circuit to               construed “the academic-freedom
flag the uncertain implications of                   exception to Garcetti” to extend to “all
Garcetti’s academic carveout. See, e.g.,             classroom speech related to matters of
Gorum v. Sessoms, 561 F.3d 179, 186                  public concern, whether that speech is
n.6 (3d Cir. 2009) (“The full                        germane to the contents of the lecture
implications of the Supreme Court’s                  or not,” enumerating a number of
statements in Garcetti regarding speech              “critical interests” unique to the
related to scholarship or teaching are               university setting that demand more
not clear.” (internal quotation mark                 “robust speech protections” there than
omitted)).                                           in other public employment contexts.
                                                     Meriwether v. Hartop, 992 F.3d 492,
But other Circuits have started to                   507 (6th Cir. 2021); see also Buchanan
answer that question. The Fourth                     v. Alexander, 919 F.3d 847, 852-53
Circuit has cautioned that “[a]pplying               (5th Cir. 2019) (applying Pickering and
Garcetti to the academic work of a                   Connick rather than Garcetti – without
public university faculty member ...                 mentioning the latter – to a university
could place beyond the reach of First                professor’s First Amendment claim
Amendment protection many forms of                   centered on classroom speech and
public speech or service a professor                 conduct, emphasizing that “academic
engaged in during his employment.”                   freedom is a special concern of the
Adams, 640 F.3d at 564. And so,                      First Amendment” (internal quotation
relying on the Garcetti Court’s “clear               marks omitted)).10
reservation” of the issue, it opted to                10    Although it has not expressly split from these
apply the approach established in its                       other Circuits in any directly analogous case,
                                                            the Seventh Circuit has been somewhat more
own binding, pre-Garcetti authority                         hesitant to sidestep Garcetti in adjacent
(based on Pickering) to a public                            contexts. See Mayer v. Monroe County Cmty.
                                                            Sch. Corp., 474 F.3d 477, 478-80 (7th Cir.
university      professor’s       First                     2007) (applying Garcetti to a First Amendment
Amendment         retaliation    claim                      claim brought by an elementary school teacher
                                                            who claimed she was fired after she “took a
predicated on speech that “involve[d]                       political [anti-Iraq war] stance during a
scholarship and teaching.” Id. at                           current-events session in her class,” but
                                                            caveating that “[h]ow much room is left for
562-63.                                                     constitutional protection of scholarly viewpoints
                                                            in post-secondary education was left open in
The Ninth Circuit soon followed suit,                       Garcetti ... and need not be resolved today”);
                                                            Renken v. Gregory, 541 F.3d 769, 770, 773 (7th
agreeing that “if applied to teaching                       Cir. 2008) (applying Garcetti to a First
and academic writing, Garcetti would                        Amendment claim brought by a university
                                                            professor who alleged he was retaliated against
directly conflict with the important                        after he “complained about the University’s use
First Amendment values previously                           of grant funds”); see also Porter v. Bd. of
                                                            Trustees of N. Carolina State Univ., 72 F.4th
articulated by the Supreme Court,” and                      573, 578, 583 (4th Cir. 2023) (applying Garcetti
instead electing to “us[e] the analysis                     to a professor’s “sarcastic[ ]” email to
                                                            colleagues that voiced his concern that a faculty
established in Pickering.” Demers v.                        search committee had “ ‘cut corners’ in vetting
Austin, 746 F.3d 402, 411-12 (9th Cir.                      a candidate ‘out of a desire to hire a Black
2014). More recently, the Sixth Circuit                     scholar whose work focused on racial issues,’ ”

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       reasoning that the email amounted to no more         apply to speech related to scholarship
       than “an unprofessional attack” on a colleague
       that was “plainly ... unrelated to [the
                                                            or teaching. Nor have we addressed the
       professor’s] teaching or scholarship” and was        matter in any post-Garcetti opinion.
       therefore not subject to the Fourth Circuit’s        There is therefore no binding authority
       decision in Adams).
                                                            that would preclude us from importing
                                                            that framework into academia if we felt
                                                            that Garcetti (or other subsequent
*11 We agree with those Circuits’
                                                            precedents) had injected new principles
treatment of Garcetti. It cannot
                                                            into our understanding of the First
reasonably be disputed that the
                                                            Amendment that required that result.
Supreme Court reserved whether
                                                            See Deem v. DiMella-Deem, 941 F.3d
Garcetti’s “official duties” framework
                                                            618, 623 (2d Cir. 2019) (“[A]
applied to “case[s] involving speech
                                                            published panel decision is binding on
related to scholarship or teaching” by
                                                            future panels unless and until it is
public employees. 547 U.S. at 425, 126
                                                            overruled by the Court en banc or by
S.Ct. 1951. Likewise, no one disputes
                                                            the Supreme Court.” (internal quotation
that the speech in this case relates to
                                                            marks omitted)).
scholarship or teaching; thus, by its
own terms, Garcetti does not bind us in
                                                            But we do not; we in fact believe quite
this case. In other words, Garcetti
                                                            the opposite. Key to the Garcetti
leaves     undisturbed      our     own
                                                            Court’s reasoning was its assessment
pre-Garcetti    authority in cases
                                                            that, because the memo at issue there
involving scholarship and teaching by
                                                            was authored pursuant to the
professors at public universities. Those
                                                            employee’s official job duties, the
cases applied Pickering and its
                                                            employee’s speech “owe[d]” its very
progeny. See, e.g., Blum v. Schlegel, 18
                                                            “existence” to those job duties. 547
F.3d 1005, 1011 (2d Cir. 1994); see
                                                            U.S. at 421-22, 126 S.Ct. 1951. For
also Dube v. State Univ. of N.Y., 900
                                                            that reason, it continued, imposing
F.2d 587, 598 (2d Cir. 1990).11
                                                            restrictions on that speech would not
11     Notably, in addition to their weighty discussion
       of concepts like academic freedom, that is also      “infringe any liberties the employee
       how the Fourth and Sixth Circuits approached         might have enjoyed as a private
       this issue – treating Garcetti as non-binding in
       this very specific context, and relying instead on   citizen” but rather would “simply
       their own pre-Garcetti authority. See Adams,         reflect[ ] the exercise of employer
       640 F.3d at 564, citing, e.g., Boring v.
       Buncombe County Bd. of Educ., 136 F.3d 364,
                                                            control over what the employer itself
       368 (4th Cir. 1998); Meriwether, 992 F.3d at         has commissioned or created.” Id. That
       505, citing, e.g., Hardy v. Jefferson Cmty. Coll.,
       260 F.3d 671, 678 (6th Cir. 2001).
                                                            makes perfect sense in the typical
                                                            government hierarchy, where the
                                                            purpose of an employee’s speech is to
Of course, the Garcetti Court also did                      further the ends of the employer, on a
not affirmatively announce that its                         course charted by someone higher up
“official duties” framework does not                        the chain-of-command, and where the
                                                            wrong word at the wrong time risks
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“contraven[ing] governmental policies”                           included in, the employee’s job description, or
or “impair[ing] ... governmental                                 in response to a request by the employer.”
                                                                 Weintraub, 593 F.3d at 203. Rather, courts are
functions.” Id. at 419, 126 S.Ct. 1951.                          instructed to “examine the nature of the
                                                                 plaintiff’s job responsibilities, the nature of the
[9]                                                              speech, and the relationship between the two,
  The problem with applying that                                 along with other contextual factors such as
reasoning here is that professors at                             whether the plaintiff’s speech was also
                                                                 conveyed to the public.” Shara, 46 F.4th at 83
public universities are paid – if perhaps                        (internal quotation marks omitted); see Ross v.
not exclusively, then predominantly –                            Breslin, 693 F.3d 300, 306 (2d Cir. 2012) (“The
                                                                 inquiry ... is not susceptible to a brightline
to speak, and to speak freely, guided by                         rule.”). The contextual factors here strongly
their own professional expertise, on                             suggest that Heim’s scholarship, though not
subjects     within     their    academic                        required, was nonetheless pursuant to his
                                                                 official duties considering (1) that there was at
disciplines. See Sweezy v. New                                   least some overlap between his research focus
Hampshire, 354 U.S. 234, 250, 77                                 and the material he was assigned to teach; (2)
                                                                 that he discussed his research ideas with his
S.Ct. 1203, 1 L.Ed.2d 1311 (1957)                                colleagues in professional settings; (3) that the
(“Teachers and students must always                              university conveyed his research to the public
                                                                 by honoring him at events celebrating his
remain free to inquire, to study and to                          publications; (4) that he repeatedly leveraged
evaluate, to gain new maturity and                               his research to try to affect his work scope and
                                                                 position within the Department; and most
understanding;         otherwise      our                        significantly, (5) that research would have been
civilization will stagnate and die.”).                           a requirement of at least some of the positions
That is their job. They “necessarily                             for which he applied, and the Department’s
                                                                 decision not to interview him for those jobs,
speak and write pursuant to [their]                              based in substantial part on his research focus,
official duties.” Garcetti, 547 U.S. at                          are the very alleged adverse actions at the center
                                                                 of this lawsuit.
438, 126 S.Ct. 1951 (Souter, J.,
dissenting) (internal quotation marks
and alteration omitted).12 And their
                                                            *12 [10]That cannot be. It certainly
university’s “governmental function[ ]”
                                                            cannot be squared with the Supreme
is to provide them a forum to do so. Id.
                                                            Court’s long-professed, “deep[ ]
at 419, 126 S.Ct. 1951 (majority
                                                            commit[ment]       to      safeguarding
opinion). Garcetti’s bar on First
                                                            academic freedom” as “a special
Amendment protection for any
                                                            concern of the First Amendment.”
“official-duty” speech would thus have
                                                            Keyishian v. Bd. of Regents of Univ. of
the      effect     of      exiling    all
                                                            State of N.Y., 385 U.S. 589, 603, 87
public-university faculty scholarship
                                                            S.Ct. 675, 17 L.Ed.2d 629 (1967); see
and instruction from the shelter of the
                                                            also Sweezy, 354 U.S. at 250, 77 S.Ct.
First Amendment.
                                                            1203; Regents of Univ. of Michigan v.
12     For those reasons, applying Garcetti to this case
       would pose a major obstacle to Heim’s claim.         Ewing, 474 U.S. 214, 226, 106 S.Ct.
       Heim disagrees, emphasizing that he did not          507, 88 L.Ed.2d 523 (1985); Kennedy
       undertake his research “pursuant to government
       policy” nor as “part of his ordinary duties” as an
                                                            v. Bremerton Sch. Dist., ––– U.S. ––––,
       adjunct lecturer. Appellant’s Br. 42-43. But         142 S. Ct. 2407, 2424, 213 L.Ed.2d
       “under the First Amendment, speech can be            755 (2022). It was that very
       ‘pursuant to’ a public employee’s official job
       duties even though it is not required by, or         commitment that inspired the Garcetti

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Court to carve academic scholarship                       Garcetti’s“official duties” framework.
and instruction out from its analysis in
the first place. See 547 U.S. at 425, 126
S.Ct. 1951; id. at 439, 126 S.Ct. 1951
(Souter, J., dissenting). And to the
extent the Garcetti Court left that door                  B. Applying Pickering
ajar, we echo the reasons several of our
sister Circuits have expressed for                        But that holding still does not resolve
closing it. We agree that “[t]he need for                 whether any particular burden imposed
the free exchange of ideas in the                         by a public university on a professor’s
college classroom is unlike that in                       speech is permissible. Instead, in
other public workplace settings,” we                      Garcetti’s absence, we are left with the
agree that a professor’s academic                         line of authority extending from
speech is “anything but speech by an                      Pickering that instructs us to ask (1)
ordinary      government      employee,”                  whether the employee is speaking on a
Meriwether, 992 F.3d at 507, and                          matter of “public concern,” and if so
therefore, fundamentally, we agree that                   (2) “whether the relevant government
“ ‘given the important purpose of                         entity had an adequate justification for
public education and the expansive                        treating the employee differently from
freedoms of speech and thought                            any other member of the public based
associated      with    the    university                 on the government’s needs as an
environment,’ ... Garcetti does not –                     employer” – balancing “the interests of
indeed, consistent with the First                         the employee, as a citizen, in
Amendment, cannot – apply to [a                           commenting upon matters of public
public university professor’s] teaching                   concern and the interest of the State, as
and academic writing,” Demers, 746                        an employer, in promoting the
F.3d at 411-12, quoting Grutter v.                        efficiency of the public services it
Bollinger, 539 U.S. 306, 329, 123 S.Ct.                   performs through its employees.”
2325, 156 L.Ed.2d 304 (2003).13                           Matthews, 779 F.3d at 172-73 (internal
13
                                                          quotation marks omitted).
       We note that our discussion here focuses
       specifically on the public scholarship of
       university professors, and we express no view
       as to how or whether Garcetti might apply to,
       say, an elementary school teacher’s speech, or
       speech unrelated to a professor’s teaching or
       scholarship, the potentially distinguishable       1. Matter of Public Concern
       academic contexts in which other Circuits have
       applied Garcetti. See supra note 9 (citing
                                                          [11]
       Mayer, 474 F.3d at 478; Renken v. Gregory, 541        As a preliminary matter, we disagree
       F.3d at 770, 773; Porter, 72 F.4th at 578, 583).   with the district court’s assessment that
                                                          because “Heim’s academic writings
                                                          about Keynesian economic concepts ...
Accordingly, we join those Circuits in                    concern complex statistical modeling
holding that we must evaluate claims                      intended for consumption by a
founded on such speech outside of                         relatively narrow audience,” they “do
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not qualify as speech on matters of                  not implicated, than in academia,
‘public concern.’ ” Heim, 2022 WL                    where disputes about the best
1472878, at *14. The fact that Heim’s                theoretical approaches or most
research is neither targeted towards nor             productive avenues of research abound
consumed by the general public may                   within and across countless disciplines.
well suggest that the public is not                  Some of those debates may strike
especially concerned with him, or with               outsiders as arcane, inconsequential, or
his work. But that has little to do with             even “trivial.” Demers, 746 F.3d at
whether that work addresses matters                  413. But the entire premise powering
that concern the public. That inquiry                academic freedom is that the
measures neither popularity nor                      advancement of the arts and sciences is
technical complexity; rather, it is a                of long-term value to society, and that
question of law to be determined based               the benefits of academic scholarship
on “the content, form, and context of a              are no less valuable even though the
given statement, as revealed by the                  eventual benefits of particular works
whole record,” Connick, 461 U.S. at                  may be unexpected, indirect, or diffuse.
147-48 & n.7, 103 S.Ct. 1684, looking                See Sweezy, 354 U.S. at 250, 77 S.Ct.
to, among other things, “whether the                 1203. Scholarly debates in theoretical
speech ... had a broader public                      physics, evolutionary biology, literary
purpose,” Singer v. Ferro, 711 F.3d                  studies, or many other fields could
334, 339 (2d Cir. 2013) (internal                    produce lawsuits just like this one, and
quotation marks omitted), and whether                we would be hard-pressed to declare
the speech can “be fairly considered as              that the speech at issue in any of those
relating to any matter of political,                 cases does not “relat[e] to any matter of
social, or other concern to the                      political, social, or other concern to the
community,” Lane, 573 U.S. at 241,                   community.” Lane, 573 U.S. at 241,
134 S.Ct. 2369 (internal quotation                   134 S.Ct. 2369 (internal quotation
marks omitted).                                      marks omitted). “Recognizing our
                                                     limitations as judges, we should
*13 Here, once again, the special                    hesitate before concluding that
academic setting of this dispute guides              academic disagreements about what
our analysis. We have recognized that                may appear to be esoteric topics are
underlying       Pickering’s      “public            mere squabbles over jobs, turf, or ego.”
concern” requirement is “the principle               Demers, 746 F.3d at 413.
that debate on public issues should be
uninhibited, robust, and wide-open.”                 [12]
                                                        But we need not decide today
Singer, 711 F.3d at 342, quoting New                 whether all academic scholarship
York Times Co. v. Sullivan, 376 U.S.                 satisfies that inclusive standard,
254, 270, 84 S.Ct. 710, 11 L.Ed.2d 686               because the scholarship at issue here
(1964). Nowhere is it more important                 comfortably does so. We have
to safeguard that interest, nor more                 recognized that, whatever other speech
difficult to confidently declare that it is          may also qualify, “discussion regarding
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current government policies and                      omitted). For our part, we have
activities is perhaps the paradigmatic               recognized that “[t]he extent of
matter of public concern.” Harman v.                 permissible regulation of State
City of New York, 140 F.3d 111, 118                  employee speech ... depends both on
(2d Cir. 1998) (internal quotation                   the nature of the speech and on the
marks and alteration omitted). That is               nature of the public services performed
precisely what Heim and other                        through a particular employee or class
macroeconomists do: they discuss                     of employees” and, accordingly, that
sweeping questions of economic                       the appropriate balance between
policy,      analyze    macroeconomic                employer and employee interests “may
conditions,      and     debate      the             differ with respect to different types of
government’s proper role in shaping                  State employees.” Blum, 18 F.3d at
those conditions. Their work may                     1011. To that end, in a case like this,
perhaps be unlikely to attract a broad               we must undertake a “nuanced
audience, but it nonetheless serves a                consideration of the range of issues that
broad “public purpose,” targeting                    arise in the unique genre of academia.”
matters of political, social, and public             Adams, 640 F.3d at 564.
policy salience. Singer, 711 F.3d at
                                                     [13]
339; see Lane, 573 U.S. at 241, 134                     In that special context, we balance
S.Ct. 2369. That is more than sufficient             educators’ interest in speaking on
to clear, with plenty of room to spare,              matters of public concern against the
the “public concern” bar, and we                     interests    of     their   state-school
therefore proceed to the final step                  employers, taking care to “protect the
under Pickering: balancing the                       First Amendment principles that
employer and employee interests.                     underlie both [an employee’s] interest
                                                     in free speech and [a university’s]
                                                     underlying mission.” Blum, 18 F.3d at
                                                     1011 (emphases added); see also E.
                                                     Hartford Ed. Ass’n, 562 F.2d at 843
2. Balancing the Interests                           (exalting academia as “a special
                                                     profession essential to the public
Turning last to that pivotal step,                   welfare” (internal quotation marks and
“[b]ecause of the infinite variety of                alteration omitted)).
factual circumstances in which such
conflicts might arise, the [Supreme]                 We have already said much about the
Court has not announced a general                    employee’s interests. No one disputes
standard in this area, but has instead               the wealth of authority championing
relied upon an identification and                    individual educators’ interest in
weighing of competing interests on a                 academic freedom and establishing,
case-by-case basis.” Locurto v.                      broadly, that the First Amendment
Giuliani, 447 F.3d 159, 173 (2d Cir.                 “tolerates neither laws nor other means
2006) (internal quotation marks                      of coercion, persuasion or intimidation
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‘that cast a pall of orthodoxy’ over the                         Amendment rights of those who wish to voice a
free exchange of ideas in the                                    different view” (internal quotation marks
                                                                 omitted)); Porter, 72 F.4th at 596 (Richardson,
classroom.’ ” Dube, 900 F.2d at 598,                             J., dissenting) (“[T]he freedom for professors to
quoting Keyishian, 385 U.S. at 603, 87                           discuss or investigate controversial problems
                                                                 without interference or penalty plays a vital role
S.Ct. 675. Typically, though, those                              in our democracy.” (internal quotation marks
cases operate as “a caution to                                   and alteration omitted)).
governmental administrators not to
discipline a college teacher for
expressing       controversial,     even                   *14 What sets this case apart from
offensive, views,” or for criticizing                      those cases is that, here, the professor’s
their employer, or for speaking in a                       well-established First Amendment
way that may upset or disturb their                        interests are not set only against the
students. E.g., Vega v. Miller, 273 F.3d                   usual government employer’s interests
460, 467 (2d Cir. 2001), citing Dube,                      in      the      efficient,      effective,
900 F.2d at 589, 597-99 (holding that                      disruption-free delivery of public
the First Amendment did not permit a                       services, see, e.g. Reuland v. Hynes,
public university to deny a professor                      460 F.3d 409, 418 (2d Cir. 2006), but
tenure “in response to pressure exerted                    also against the countervailing “First
by      government       officials   and                   Amendment principles” that propel a
community activists outraged by” that                      public university’s own “underlying
professor’s controversial curriculum                       mission,” Blum, 18 F.3d at 1011. On
comparing “Nazism, apartheid, and                          that side of the ledger, courts have
Zionism”).14                                               consistently celebrated the need to
14     See also, e.g., Keyishian, 385 U.S. at 592, 87      safeguard                    universities’
       S.Ct. 675 (requirement that teachers answer         self-determination over the substance
       under oath whether they were affiliated with
       “any ... group ... which taught or advocated the    of the education they provide and the
       doctrine that the Government ... should be          scholarship they cultivate. In one
       overthrown or overturned by force, violence or
       any unlawful means” was unconstitutional);
                                                           oft-quoted      concurrence,        Justice
       Perry v. Sindermann, 408 U.S. 593, 598, 92          Frankfurter proclaimed that “[i]t is the
       S.Ct. 2694, 33 L.Ed.2d 570 (1972) (“[A]             business of a university to provide that
       teacher’s public criticism of his superiors on
       matters of public concern may be                    atmosphere which is most conducive to
       constitutionally protected and may, therefore, be   speculation, experiment and creation,”
       an impermissible basis for termination of his
       employment.”); Meriwether, 992 F.3d at 510          and to exercise “the four essential
       (Pickering balancing favored professor who had      freedoms of a university – to determine
       been reprimanded for flouting the university’s
       mandate to use students’ preferred pronouns,        for itself on academic grounds who
       “refus[ing] even to permit [the professor] to       may teach, what may be taught, how it
       comply with its pronoun mandate while
       expressing his personal convictions in a syllabus
                                                           shall be taught, and who may be
       disclaimer,” because notwithstanding the            admitted to study.” Sweezy, 354 U.S. at
       university’s “interest in stopping discrimination   263, 77 S.Ct. 1203 (Frankfurter, J.,
       against transgender students,” the notion that
       “gender identity is an idea embraced and            concurring) (internal quotation marks
       advocated by increasing numbers of people is        omitted). We have likewise recognized
       all the more reason to protect the First
                                                           that the frequently invoked but
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“difficult to define” ethos of “academic             announcing that one of his classes
freedom,” Dow Chem. Co. v. Allen,                    would explore “three forms of racism
672 F.2d 1262, 1275 (7th Cir. 1982),                 ... for comparative purpose[s]; e.g.,
encompasses concepts like “the                       Nazism, apartheid, and Zionism.” Id. at
University’s right to make its own rules             589 (alteration in original). We agreed
concerning academic standards,” Burt                 that there was a genuine issue of fact
v. Gates, 502 F.3d 183, 190-91 (2d Cir.              whether      the     defendants      had
2007), its “prerogative to determine for             impermissibly retaliated against the
itself on academic grounds who may                   professor based on the content of his
teach,” Lieberman v. Gant, 630 F.2d                  class and the public outrage it inspired.
60, 67 (2d Cir. 1980) (internal                      Id. at 598. But we also added an
quotation marks omitted), its “right to              important caveat. The defendants, we
set its own criteria for promotion and               instructed, “may defend against that
then to evaluate a candidate’s fitness               claim on the merits by contending that
for promotion under them,” Bickerstaff               they denied tenure and promotion to
v. Vassar Coll., 196 F.3d 435, 455 (2d               Dube for permissible academic
Cir. 1999), and so on. See also Piggee               reasons, without regard to the
v. Carl Sandburg Coll., 464 F.3d 667,                surrounding community pressure.” Id.
671 (7th Cir. 2006) (“[A] university’s               (emphasis added).
ability to set a curriculum is as much
an element of academic freedom as any                The defendants in Dube proffered two
scholar’s right to express a point of                such reasons. Both resonate here. The
view.” (internal quotation marks                     first was the university’s professed
omitted)). Those principles loom large               desire to foster collaboration between
here.                                                faculty in Dube’s Africana Studies
                                                     department and those across other
Still, we do not appear ever to have                 departments. Id. at 591. As the dean
faced this precise scenario: a claimed               (one of the administrators who
First Amendment violation arising                    formally “recommended that Dube be
from a public university department’s                denied tenure and promotion”)
open and deliberate adherence to a                   explained:
particular intellectual methodology or
approach. But although we have never                    Africana [S]tudies has not yet
expressly decided the question, the                     fulfilled      its  potential     or
Department’s motivations here recall                    accomplished its mission at Stony
those that we strongly implied were                     Brook. It needs greatly to elaborate
permissible in Dube. There, a professor                 its      relations   with      other
alleged that he was denied tenure “in                   departments.... Professor Dube’s
response to pressure exerted by                         apparent withdrawal from academic
government officials and community                      psychology is not helpful. Africana
activists outraged,” Dube, 900 F.2d at                  Studies also needs to become a
597, by a course description                            department and develop a graduate
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   program in conjunction with other                 maintains that a university benefits
   departments;     Professor    Dube’s              from assembling faculty members with
   scholarly posture would be a                      divergent approaches, methodologies,
   hindrance here.                                   and points of view within a given
Id. The university, in other words,                  discipline. Some universities may well
professed an interest in prioritizing                decide to hire with that goal in mind.
tenure candidates whose research                     But     decision-makers     within    a
would facilitate collaborative synergies             university might also reasonably decide
with other scholars. That desire for                 that concentrating on scholars with
inter-departmental         collaboration             similar interests or approaches will
closely tracks the desire for                        enhance collaboration, the university’s
intra-departmental         collaboration             reputation, or the quality of its
Masters expressed in his email to Heim               collective research output, and hire
– that the Department was looking to                 with those goals in mind instead.
hire someone who “[h]as sufficient
synergies with our research agendas                  That touches upon the second asserted
that we can learn from them and them                 justification in Dube: concerns that the
from us with the possibility of                      candidate’s written scholarship did not
constructive collaboration.” App’x 598.              meet the “usual standards” for the
In her deposition, Daniel further                    position. Dube, 900 F.2d at 591. In this
elaborated on the rationale underlying               case, Heim was told by Daniel that the
that preference:                                     university     was    prioritizing   the
                                                     techniques favored by “the top macro
   *15 [Y]ou do need some synergy                    and general field journals,” where the
   there. Like if I were to take someone             Department “expect[s] our faculty to
   on just in a totally, totally different           publish,” and that because (by Heim’s
   field, even though it’s macro, I’m                own admission) his research did not
   not terribly helpful to them. And                 use those techniques, the Department
   they need someone to help them.                   instead intended to hire someone else
                                                     who had been “trained in those
   Good departments are strong in                    techniques.” App’x 588. Masters later
   particular areas. They are not super              echoed those sentiments, explaining to
   spread out and thin. So do you want               Heim that the Department was seeking
   a department that’s super spread out              candidates to publish research featuring
   and thin and no one does anything                 the “modern (i.e., post Lucas Critique)
   related to each other or do you want              macroeconomic[ ]” techniques that
   people that have a working                        Heim conceded his research did not
   relationship ... ?                                feature, and that the journals that had
Id. at 852.                                          been willing to publish Heim’s
                                                     research did not “achieve the standard
Heim’s critique of that rationale is, of             that we expect for tenure.” Id. at 597.
course, also perfectly reasonable. He                To be sure, unlike in Dube, the
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Department’s concerns here (at least
those expressed openly) were less
about the “quantity and quality” of                       *16 And, crucially, they are best left to
Heim’s work on its own terms, Dube,                       scholars. See id. at 413 (“[W]e should
900 F.2d at 591 (internal quotation                       hesitate before concluding that we
marks omitted), and more about what                       know better than the institution itself
those terms were – that is, the                           the nature and strength of its legitimate
methodology and approach they                             interests.”). Evaluations of the quality
reflected. And so, once again, the                        of academic work necessarily turn on
Department’s concerns circled back to                     judgments about its contents. Certainly,
its overriding preference for DSGE.                       even evaluators with subject matter
                                                          expertise may miss the mark.
Therein lies the rub. Because the                         Innovative thinkers may be discounted
Department’s      desire    both    for                   by proponents of conventional, but
collaborative synergies and for                           ultimately        mistaken,        views.
publication clout go hand-in-hand with                    Conversely, departments in thrall to
its methodological preferences, they                      fashionable ideas may deride as
invite decision-makers to evaluate                        “old-fashioned” scholars who, in time,
candidates through exactly the sort of                    are proven to have been correct all
“content-based judgment[s]” that are                      along. Work that builds upon premises
normally “anathema to the First                           that the evaluator rejects may be
Amendment.” Demers, 746 F.3d at                           dismissed out-of-hand as less valuable
413. But academia is not normal; it is                    regardless of that work’s quality in its
“unique.” Adams, 640 F.3d at 564. In                      own right, and regardless of whether,
this exceptional setting, we implied in                   in the long run, it is the evaluator’s
Dube that such justifications are                         predisposition or the rejected premise
“permissible academic reasons” for                        that prevails.
declining to hire or promote a
candidate. 900 F.2d at 598. Today we                      But to the extent any of that is, as Heim
say so explicitly.15 In the “special                      insists, “wrong,” App’x 546, it is a
niche” that academia occupies, such                       wrong that we cannot right. If the
judgments are “both necessary and                         academic enterprise is to remain an
appropriate.” Demers, 746 F.3d at 411,                    engine of progress, decisions about the
413 (internal quotation marks omitted).                   value of academic work must be left to
15     And, importantly, although the Dube panel          academics. Though, in nearly all
       remanded for a trial to determine whether those
       departmental interests were, in fact, the actual   contexts, government officials are
       motivations for the university’s decision, 900     barred from discriminating among
       F.2d at 598, here Heim disputes only the
       wisdom (and the constitutionality) of those        speakers based on their own judgments
       asserted interests, not their veracity. To the     of the quality or content of the speech,
       contrary, the central premise of his lawsuit is
       that the Department’s transparently pro-DSGE       in this exceptional context where
       preferences were the driving force behind its      professors’ advancement necessarily
       hiring decisions.

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depends on the quality of their work,                deprived of the opportunity to continue
and where the evaluation of that quality             his research, or to share his Keynesian
necessarily depends on evaluators’                   perspectives in his lectures. To the
assessments of the work’s content, the               contrary, even as they transparently
First Amendment operates differently.                preferred tenure-track candidates with
It must operate differently. Much as                 research focuses that differed from
importing Garcetti’s rationale from                  Heim’s, both Daniel and Masters
typical public employment settings into              actively encouraged Heim to continue
this atypical setting – effectively                  his own research. And he did; even
stripping    professors     at    public             after he missed out on the 2017
universities of much of their First                  position, he was able to publish several
Amendment protection in the process –                books alongside his ongoing teaching
would be inconsistent with the core                  responsibilities. That research was
function of those universities, so too               promptly celebrated and publicized by
would any interpretation of the First                the    university.    No     speech    –
Amendment that bridles the efforts of                controversial, dissenting, or otherwise
experts at those universities to foster              – was muzzled.
high-quality      scholarship      with
content-neutral constraints imposed by               We do not minimize Heim’s interest in
lay courts.                                          retaining the freedom to perform
                                                     scholarship as he wishes, or in
In that spirit, we have cautioned before,            competing for positions that might
and reiterate today, that courts “should             better facilitate that scholarship; nor do
not substitute their judgment for that of            we suggest that the decision not to hire
the college” because things like                     an applicant based on the applicant’s
“teaching ability, research scholarship,             views on academic debates can never
and professional stature are subjective,             prevail over the employer’s interests
and unless they can be shown to have                 under Pickering. But we are tasked
been used as the mechanism to obscure                here with balancing (1) an employee’s
discrimination, they must be left for                asserted interest not simply in speaking
evaluation by the professionals.”                    freely through his scholarship, but in
Bickerstaff, 196 F.3d at 455 n.7,                    being considered, without regard to the
quoting Kunda v. Muhlenberg Coll.,                   content of that scholarship, for
621 F.2d 532, 548 (3d Cir. 1980).                    advancement from a job where he is
Here, there is no indication that the                already empowered to do that research
Department’s affinity for DSGE was                   and entrusted to espouse his views as a
really a pretextual veil to “obscure                 teacher; against (2) a university’s
discrimination,” or a cudgel to stamp                interest in deciding for itself what
out     controversial    or    dissenting            skills, expertise,       and academic
viewpoints, or some other mechanism                  perspectives it wishes to prioritize in its
to advance the views of non-academic                 hiring and staffing decisions.
public officials. Id. Heim was never
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*17 [14]In this case, considering both                 decision-makers within a university
“the nature of the speech and ... the                  must be permitted to consider the
nature of the public services                          content of an aspiring faculty
performed” by this particular public                   member’s academic speech, and to
employer, Blum, 18 F.3d at 1011, the                   make judgments informed by their own
latter interest is the weightier.                      scholarly   views,   when    making
Defendants have decided to prioritize,                 academic appointments.
for purposes of scarce tenure-track
positions, a particular methodology.
Heim does not dispute that their
decision was the product of a learned
and strategic choice, made by experts                  CONCLUSION
in their good faith professional
judgment, free from any influence from                 We have considered Heim’s other
political entities in the state or other               arguments and conclude that they are
governmental or university officials                   without merit. Thus, for the foregoing
outside the relevant discipline.                       reasons, we AFFIRM the judgment of
Compare Dube, 900 F.2d at 597. That                    the district court.
is, and must be, permissible. If the
Supreme Court’s (and this Court’s)
                                                       All Citations
enthusiastic endorsement of the First
Amendment principles supporting a                      --- F.4th ----, 2023 WL 5597837
university’s academic freedom is to be
given       any       practical     bite,
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